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                              EXHIBIT 12
                        Case: 1:18-cv-03632 Document #: 1-12 Filed: 05/23/18 Page 2 of 11 PageID #:68


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PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2021)


                                     Trademark/Service Mark Application, Principal Register
                                                                TEAS Plus Application
                                                                       Serial Number: 87796001
                                                                       Filing Date: 02/13/2018

   NOTE: Data fields with the * are mandatory under TEAS Plus. The wording "(if applicable)" appears where the field is only mandatory
                                               under the facts of the particular application.




                                                     The table below presents the data as entered.

                                     Input Field                                                                Entered
             TEAS Plus                                                YES
             MARK INFORMATION
                                                                      \\TICRS\EXPORT17\IMAGEOUT 17\877\960\87796001\xml1\
             *MARK
                                                                      FTK0002.JPG
             *SPECIAL FORM                                            YES
             USPTO-GENERATED IMAGE                                    NO
             LITERAL ELEMENT                                          PEPPERCORNS KITCHEN
             *COLOR MARK                                              NO
             *COLOR(S) CLAIMED
             (If applicable)

                                                                      The mark consists of PEPPERCORNS KITCHEN, four Chinese characters,
                                                                      and a small round designed logo on the upper left corner. The center of the
                                                                      mark shows PEPPERCORNS KITCHEN arranged horizontally, and the four
                                                                      Chinese characters are written vertically from top to bottom, with the
             *DESCRIPTION OF THE MARK                                 horizontally written PEPPERCORNS KITCHEN in between the second and
             (and Color Location, if applicable)                      the third Chinese characters. The logo on the upper left corner consists of a
                                                                      smaller circle within a bigger circle. The smaller inner circle contains two
                                                                      strings of peppercorns hanging from the top, and PEPPERCORNS KITCHEN
                                                                      and the four Chinese characters are in the space between the outer circle and
                                                                      the inner circle.
             PIXEL COUNT ACCEPTABLE                                   YES
             PIXEL COUNT                                              312 x 600
             REGISTER                                                 Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                           FANYUAN INVESTMENT MANAGEMENT LLC
             *STREET                                                  3312 S HALSTED ST
             *CITY                                                    Chicago
             *STATE
                                                                      Illinois
             (Required for U.S. applicants)

             *COUNTRY                                                 United States
        Case: 1:18-cv-03632 Document #: 1-12 Filed: 05/23/18 Page 3 of 11 PageID #:69

*ZIP/POSTAL CODE
                                      60608
(Required for U.S. applicants)

LEGAL ENTITY INFORMATION
*TYPE                                 LIMITED LIABILITY COMPANY
* STATE/COUNTRY WHERE LEGALLY
ORGANIZED
                                      Illinois

GOODS AND/OR SERVICES AND BASIS INFORMATION
* INTERNATIONAL CLASS                 043
                                      Food preparation services; Restaurant; Restaurant services; Restaurant
*IDENTIFICATION
                                      services, including sit-down service of food and take-out restaurant services
*FILING BASIS                         SECTION 1(a)
    FIRST USE ANYWHERE DATE           At least as early as 02/00/2016
    FIRST USE IN COMMERCE DATE        At least as early as 02/00/2016
    SPECIMEN FILE NAME(S)

    ORIGINAL PDF FILE                 SPE0-135841672-20180207155733062644_._Peppercorns_Kitchen.pdf
    CONVERTED PDF FILE(S)
    (3 pages)
                                      \\TICRS\EXPORT17\IMAGEOUT17\877\960\87796001\xml1\FTK0003.JPG

                                      \\TICRS\EXPORT17\IMAGEOUT17\877\960\87796001\xml1\FTK0004.JPG

                                      \\TICRS\EXPORT17\IMAGEOUT17\877\960\87796001\xml1\FTK0005.JPG
    SPECIMEN DESCRIPTION              a menu of the PEPPERCORNS KITCHEN
ADDITIONAL STATEMENTS SECTION
*TRANSLATION
(if applicable)

*TRANSLITERATION                      The non-Latin characters in the mark transliterate to BA GUO YAN YI and
(if applicable)                       this means romance of the Sichuan Kingdom in English.
*CLAIMED PRIOR REGISTRATION
(if applicable)

*CONSENT (NAME/LIKENESS)
(if applicable)

*CONCURRENT USE CLAIM
(if applicable)

ATTORNEY INFORMATION
NAME                                  Yanling Jiang
FIRM NAME                             JiangIP LLC
STREET                                233 South Wacker Drive, 84th Floor
CITY                                  Chicago
STATE                                 Illinois
COUNTRY                               United States
ZIP/POSTAL CODE                       60606
PHONE                                 312-283-8091
EMAIL ADDRESS                         yanling@jiangip.com
AUTHORIZED TO COMMUNICATE VIA EMAIL   Yes
        Case: 1:18-cv-03632 Document #: 1-12 Filed: 05/23/18 Page 4 of 11 PageID #:70

CORRESPONDENCE INFORMATION
*NAME                                  Yanling Jiang
FIRM NAME                              JiangIP LLC
*STREET                                233 South Wacker Drive, 84th Floor
*CITY                                  Chicago
*STATE
(Required for U.S. addresses)
                                       Illinois

*COUNTRY                               United States
*ZIP/POSTAL CODE                       60606
PHONE                                  312-283-8091
*EMAIL ADDRESS                         yanling@jiangip.com;sophietrademarks@gmail.com; 929881500@qq.com
*AUTHORIZED TO COMMUNICATE VIA EMAIL   Yes
FEE INFORMATION
APPLICATION FILING OPTION              TEAS Plus
NUMBER OF CLASSES                      1
FEE PER CLASS                          225
*TOTAL FEE PAID                        225
SIGNATURE INFORMATION
* SIGNATURE                            /yanling jiang/
* SIGNATORY'S NAME                     yanling jiang
* SIGNATORY'S POSITION                 attorney of record, IL bar member
SIGNATORY'S PHONE NUMBER               312-283-8091
* DATE SIGNED                          02/13/2018
                        Case: 1:18-cv-03632 Document #: 1-12 Filed: 05/23/18 Page 5 of 11 PageID #:71

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OMB No. 0651-0009 (Exp 02/28/2021)




                                           Trademark/Service Mark Application, Principal Register

                                                                     TEAS Plus Application

                                                                       Serial Number: 87796001
                                                                       Filing Date: 02/13/2018
To the Commissioner for Trademarks:
MARK: PEPPERCORNS KITCHEN (stylized and/or with design, see mark)

The mark in your application is PEPPERCORNS KITCHEN.
The applicant is not claiming color as a feature of the mark. The mark consists of PEPPERCORNS KITCHEN, four Chinese characters, and a
small round designed logo on the upper left corner. The center of the mark shows PEPPERCORNS KITCHEN arranged horizontally, and the
four Chinese characters are written vertically from top to bottom, with the horizontally written PEPPERCORNS KITCHEN in between the
second and the third Chinese characters. The logo on the upper left corner consists of a smaller circle within a bigger circle. The smaller inner
circle contains two strings of peppercorns hanging from the top, and PEPPERCORNS KITCHEN and the four Chinese characters are in the space
between the outer circle and the inner circle.
The applicant, FANYUAN INVESTMENT MANAGEMENT LLC, a limited liability company legally organized under the laws of Illinois,
having an address of
    3312 S HALSTED ST
    Chicago, Illinois 60608
    United States

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
    International Class 043: Food preparation services; Restaurant; Restaurant services; Restaurant services, including sit-down service of food
and take-out restaurant services

Use in Commerce: The applicant is using the mark in commerce on or in connection with the identified goods/services. The applicant attaches, or
will later submit, one specimen as a JPG/PDF image file showing the mark as used in commerce on or in connection with any item in the class of
listed goods/services, regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The specimen image
file may be in color, and the image must be in color if color is being claimed as a feature of the mark.

In International Class 043, the mark was first used by the applicant or the applicant's related company or licensee predecessor in interest at least
as early as 02/00/2016, and first used in commerce at least as early as 02/00/2016, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) a menu of the PEPPERCORNS KITCHEN.

Original PDF file:
SPE0-135841672-20180207155733062644_._Peppercorns_Kitchen.pdf
Converted PDF file(s) (3 pages)
Specimen File1
Specimen File2
Specimen File3



Transliterations
The non-Latin characters in the mark transliterate to BA GUO YAN YI and this means romance of the Sichuan Kingdom in English.


The applicant's current Attorney Information:
   Yanling Jiang of JiangIP LLC 233 South Wacker Drive, 84th Floor
               Case: 1:18-cv-03632 Document #: 1-12 Filed: 05/23/18 Page 6 of 11 PageID #:72

   Chicago, Illinois 60606
   United States
   312-283-8091(phone)
   yanling@jiangip.com (authorized)


The applicant's current Correspondence Information:
    Yanling Jiang
    JiangIP LLC
    233 South Wacker Drive, 84th Floor
    Chicago, Illinois 60606
    312-283-8091(phone)
    yanling@jiangip.com;sophietrademarks@gmail.com; 929881500@qq.com (authorized)
E-mail Authorization: I authorize the USPTO to send e-mail correspondence concerning the application to the applicant or the applicant's
attorney, or the applicant's domestic representative at the e-mail address provided in this application. I understand that a valid e-mail address
must be maintained and that the applicant or the applicant's attorney must file the relevant subsequent application-related submissions via the
Trademark Electronic Application System (TEAS). Failure to do so will result in the loss of TEAS Plus status and a requirement to submit an
additional processing fee of $125 per international class of goods/services.

A fee payment in the amount of $225 has been submitted with the application, representing payment for 1 class(es).

                                                                    Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

               The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
               The mark is in use in commerce on or in connection with the goods/services in the application;
               The specimen(s) shows the mark as used on or in connection with the goods/services in the application; and
               To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        AND/OR
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

               The signatory believes that the applicant is entitled to use the mark in commerce;
               The applicant has a bona fide intention to use the mark in commerce on or in connection with the goods/services in the
               application; and
               To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /yanling jiang/ Date: 02/13/2018
Signatory's Name: yanling jiang
Signatory's Position: attorney of record, IL bar member
Signatory's Phone Number: 312-283-8091
Payment Sale Number: 87796001
Payment Accounting Date: 02/14/2018

Serial Number: 87796001
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Internet Transmission Date: Tue Feb 13 15:15:03 EST 2018
TEAS Stamp: USPTO/FTK-XXX.XX.XXX.X-20180213151503860
974-87796001-510472843f85b24b61574e95f17
2668a67931f86c33e43ce215c86ed24a345e351-
CC-1562-20180213145808582846
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